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5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                             FOR THE DISTRICT OF ARIZONA

8    In re:                              )     In Chapter 7 Proceedings
                                         )
9    JOHN MARTIN SCHOTTS;                )     Case No. 0:21-BK-01283-PS
                                         )
10                           Debtor.     )
                                         )
11
                             APPLICATION FOR AUTHORITY
12                               TO RETAIN REALTOR

13              The trustee moves this Court for the entry of an order

14   authorizing the retention of Century 21 HomeStar (“C21") and BK Global

15   Real Estate Services (“BKG”) as realtors for the estate, stating as

16   follows:

17              1.   The debtor filed a voluntary petition for relief under

18   Chapter 7 of the Bankruptcy Code.

19              2.   During the course of this case, the trustee will require

20   the assistance of realtors to list and sell the real property of the

21   estate commonly known as 707 Lynwood Dr., Minerva, OH.

22              3.    C21 and BKG are licenses realtors and are qualified to

23   provide such assistance to the trustee in this case.                 The trustee,

24   therefore, wishes to retain C21 and BKG as realtor for the estate in

25   this case.

26              4.   As evidenced by the declaration filed herewith, C21 and

27   BKG neither has nor represents an interest adverse to the debtor nor

28   the trustee herein.

     Case 0:21-bk-01283-PS   Doc 36 Filed 08/19/21 Entered 08/19/21 12:03:49   Desc
                              Main Document    Page 1 of 2
1               5.   The fees of C21 and BKG will not exceed six percent (6%)
2    of the agreed upon sales price of the property.
3               WHEREFORE, the Trustee requests this Court enter an order
4    authorizing the trustee to retain C21 and BKG as realtors for the
5    benefit of the estate.
6               DATED August 19, 2021.
7                                        TERRY A. DAKE, LTD.
8                                        By   /s/ TD009656
                                           Terry A. Dake
9                                          P.O. Box 26945
                                           Phoenix, Arizona 85068-6945
10                                         Attorney for Trustee
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     Case 0:21-bk-01283-PS   Doc 36 Filed 08/19/21 Entered 08/19/21 12:03:49   Desc
                              Main Document    Page 2 of 2
